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                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF COLORADO

In Re:                                                                                   Chapter 13
                                                                            Case No. 18-18542-EEB

PAUL GEORGE HARDY and STEPHANIE JO HARDY, Debtors,

U.S. BANK NATIONAL ASSOCIATION, Movant.


                                       ORDER APPROVING STIPULATION


       THIS MATTER came before the Court upon the Stipulation of PAUL GEORGE
HARDY and STEPHANIE JO HARDY ("Debtors") and U.S. BANK NATIONAL
ASSOCIATION, ("Movant"). The Court has reviewed the Stipulation and FINDS that the parties
have reached an agreement regarding relief from the automatic stay imposed by 11 U.S.C §362.
The Court being apprised in the premises,

       ORDERS that all terms of the Stipulation are hereby approved by the Court on the
following described real property:

          LOT 1, BLOCK 4, COUNTRY HILLS SUBDIVISION FILING NO. 4, AMENDMENT
          NO. 1, COUNTY OF ADAMS, STATE OF COLORADO.,

          aka 13102 BELLAIRE DRIVE THORNTON, COLORADO 80241.

      IT IS FURTHER ORDERED that the requirements of Fed.R.B.P. 4001(a)(3) have been
waived.

          Any hearing scheduled on the Motion for Relief is hereby vacated.


Dated: this 18th day of March, 2019.

                                                    BY THE COURT:



                                                    Elizabet
                                                    Elizabeth
                                                          ehE E. Brown
                                                    U.S. Bankruptcy Judge




CO - Chapter 13 Stipulation - Colorado/Colorado/
